IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

GARY ZAMBITO,
CIVIL CASE NO:
Plaintiff,

-against-

UNITED STATES OF AMERICA,
Defendant.
COMPLAINT:
COUNT I

1. This action arises under the Federal Tort Claims Act, 28 U.S.C.A §§ 2671 to
2680, and this court has jurisdiction under the provisions of 28 U.S.C.A. § 1346(b).

2. Plaintiff, GARY ZAMBITO, is, and at all times mentioned was, a citizen and
resident of Nassau County, State of New York.

3. Venue lies in this Court pursuant to 28 U.S.C. § 1391(b)(2) in that the substantial
events giving rise to the within claim occurred in Nassau and Suffolk County.

4. Plaintiff filed a claim on or about June 29, 2017, which was sent certified mail, return

receipt requested, to the Office of General Counsel, Department of Veterans Affairs, 800 Poly Place,
Brooklyn, New York 11209.

5. The filing of plaintiffs clam was made more than six (6) months before this action
was instituted. Defendant has failed to make a final disposition of the claim within that time.
Plaintiff deems such failure to be a denial of the claim. A copy of plaintiff’s claim is attached as

Exhibit “A” and incorporated by this reference.
6. Defendant, the United States of America, through its employees and through the
Veteran’s Administration, a Federal Agency, at all times hereinafter mentioned, did, and now
does, operate the Northport VA Medical Center, located at 79 Middleville Road, Northport, NY
11768.

ts That at all times hereinafter mentioned, the Northport VA Medical Center was an
office and agent of the Defendant, UNITED STATES OF AMERICA.

8. Defendant, the United States of America, through its employees and through the
Veteran’s Administration, a Federal Agency, at all times herein after mentioned, did, and now
does, operate the VA East Meadow Clinic, located at 2201 Hempstead Turnpike, East Meadow,
NY 11554.

9, That at all times hereinafter mentioned, the VA East Meadow Clinic was an office
and agent of the Defendant, UNITED STATES OF AMERICA.

10. Defendant, the United States of America, through its employees and through the
Veteran’s Administration, a Federal Agency, at all times hereinafter mentioned, did, and now
does, operate the VA Valley Stream Clinic, located at 99 Central Avenue, Valley Stream, NY
11580.

11. That at all times hereinafter mentioned, the VA Valley Stream Clinic was an
office and agent of the Defendant, UNITED STATES OF AMERICA.

12. Defendant, the United States of America, through its employees and through the
Veteran’s Administration, a Federal Agency, at all times hereinafter mentioned, did, and now
does, operate the VA Bronx Clinic, located at 130 West Kingsbridge Road, Bronx, NY 10468.

L3, That at all times hereinafter mentioned, the VA Bronx Clinic was an office and

agent of the Defendant, the UNITED STATES OF AMERICA.
14. That in or about December 2015 through and including March of 2017, the
plaintiff GARY ZAMBITO came under the care of Northport VA Medical Center, their agents,
servants and/or employees, in its professional capacity as a hospital for medical aid and attention,
relative to certain signs, symptoms, conditions and complaints, including supraventricular
tachycardia and associated syncopal episodes.

15. That in or about December 2015 through and including March of 2017, the
plaintiff GARY ZAMBITO came under the care of the VA East Meadow Clinic, its agents,
servants and/or employees, in its professional capacity as a clinic for medical aid and attention,
relative to certain signs, symptoms, conditions and complaints, including supraventricular
tachycardia and associated syncopal episodes.

16. That on or about December 2015 through and including March of 2017, the
plaintiff GARY ZAMBITO came under the care of the VA Valley Stream Clinic, its agents,
servants and/or employees, in its professional capacity as a clinic for medical aid and attention,
relative to certain signs, symptoms, conditions and complaints, including supraventricular
tachycardia and associated syncopal episodes.

17. That on or about December 2015 through and including March of 2017, the
plaintiff GARY ZAMBITO came under the care of the VA Bronx Clinic, its agents, servants
and/or employees, in its professional capacity as a clinic for medical aid and attention, relative to
certain signs, symptoms, conditions and complaints, including supraventricular tachycardia and
associated syncopal episodes.

18. That the medical care and treatment which was rendered by the Defendant, its

agents, servants and/or employees, was rendered in an improper, negligent and careless manner,
in that said Defendant, its agents, servants and/or employees failed, neglected and omitted to
exercise, use and employ the skill, care and diligence commonly and ordinarily possessed by and
required of physicians, nurse practitioners and hospitals; failed, neglected and omitted to
carefully, properly, thoroughly and fully evaluate the signs, symptoms and conditions manifested
in the plaintiff; failed to arrive at a differential diagnosis of the plaintiff's condition; failed to
properly diagnose, treat and monitor the plaintiff's cardiac condition, including that of
supraventricular tachycardia (“SVT”); caused and created the development and progression of
serious and permanent complications and damages, including tightness in chest, dizziness,
nausea, shortness of breath, syncopal episodes, loss of consciousness, falls and resulting injuries,
by failing to properly diagnose and treat the plaintiff's SVT; carelessly and negligently
determined that plaintiffs cardiac condition was not the cause of his syncopal episodes; failed to
determine that the syncopal episodes were related to the plaintiff's cardiac condition, including
that of SVT; caused and permitted the plaintiff's cardiac condition, including SVT, to be left
untreated and thereby progress, worsen, and thereby cause additional damages and injuries; failed
to adequately diagnose and treat plaintiff; failed to properly assess the plaintiff's signs,
symptoms, complaints and conditions of tightness in the chest, dizziness, nausea, shortness of
breath, syncopal episodes, loss of consciousness, and falls; caused, permitted and/or allowed the
plaintiff to sustain severe and permanent injuries; failed to perform the proper and indicated tests
and procedures for the proper diagnosis and treatment of the plaintiffs condition; failed to
properly interpret, evaluate and appreciate the significance of the tests and procedures performed,
including the echocardiogram, Zio XT patch trial and stress test; failed to recommend, prescribe
and/or administer the correct medication for the treatment of the plaintiff's cardiac condition;

negligently recommended, prescribed and/or administered incorrect medications for the treatment
of the plaintiffs condition; that the said defendants were further careless and negligent in the
premises in that the various medical practitioners refused to discuss test results and/or medical
issues and complaints with the plaintiff and essentially dismissed the plaintiff from the
cardiology department and any further cardiologic care; that the Defendant carelessly and
negligently referred the plaintiff to various other departments and specialties, in an effort to rule
out non-cardiologic causes of the plaintiff's syncopal episodes, thereby further delaying the
diagnosis and treatment of the plaintiff's condition; that the Defendant carelessly and negligently
denied and/or delayed permission for the plaintiff to obtain non VA care and treatment; in that
the Defendant failed to provide the plaintiff with the proper and indicated care for the treatment
of his cardiac condition and associated syncopal episodes; failed, neglected and omitted to take,
use and employ reasonable and proper steps and procedures and practices for the health, welfare
and safety of the plaintiff. In addition, plaintiff claims the doctrine of res ipsa loquitur applies
herein.

19. That by reason of the foregoing negligence and medical malpractice, the plaintiff
was rendered injured, sick, sore, lame and disabled, by virtue of sustaining multiple falls as a
result of the continued and untreated syncopal episodes, resulting in injuries, including to his
right wrist and hand, head, face, left and right knees, left shoulder, right arm and shoulder, and
neck; nerve damage and chronic pain syndrome; and was compelled to be hospitalized and
treated for a long and unreasonable period of time, and was compelled to undergo medical,
hospital and surgical care and treatment in an effort to cure himself of his injuries, and was

further compelled to undergo pain and suffering.
20. That by reason of the pain and suffering of the plaintiff, plaintiff has been
damaged in the amount of FOUR ($4,000,000.00) MILLION DOLLARS and makes claim for
said sum.

WHEREFORE, plaintiff demands judgment against the defendant UNITED
STATES OF AMERICA on Count I in the sum of FOUR MILLION DOLLARS
($4,000,000.00), together with costs and disbursements of this action; a trial by jury of all issues
involved in this complaint; and such other and further relief as this Court may deem just and
proper under the circumstances.
Dated: Melville, NY
June 20, 2018
LAW OFFICES OF PETER D. BARON, PLLC
Attorneys for Plaintiff
___/s/Peter D. Baron
Peter D. Baron (PB8519)
532 Broadhollow Road, Suite 114

Melville, New York 11747
631-367-7000
CERTIFICATE OF MERIT

PETER D. BARON, an attorney admitted to practice law in the
United States District Court for the Eastern of District New York, declares that I have reviewed
the facts of the case and consulted with at least one physician who is licensed to practice
medicine in this state and who I reasonably believe is knowledgeable in the relevant issues
involved in this action, and I have concluded on the basis of such review and consultation that

there is a reasonable basis for the commencement of this action.

Dated: Melville, New York —
June 20, 2018

rp (PB 8519)
